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Morgan Murphy, Jane Doe, Mary Doe, and the Putative Class

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          BUTTE DIVISION
                                       MDL No. 2:24-md-3126

IN RE: SNOWFLAKE, INC. DATA
SECURITY BREACH LITIGATION
                                       District Judge Brian M. Morris




 APPLICATION TO APPOINT AMY KELLER AND TIMOTHY BLOOD,
          AND THEIR PROPOSED LEADERSHIP TEAM
               AS INTERIM CLASS COUNSEL




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I.    INTRODUCTION

      Choosing a leadership structure and appointing lawyers to fill that structure is

akin to creating a law firm specially designed to litigate this case. The organization

should be structured to maximize efficiency and be comprised of qualified attorneys

with varying skill sets that will best represent the proposed Class throughout the

course of the entire litigation. A ten-lawyer team consisting of Proposed Co-Leads

Amy Keller and Timothy Blood (“Proposed Co-Leads”), supported by Liaison

Counsel Bill Rossbach and Samir Aarab, and Plaintiffs’ Steering Committee made

up of Thomas Loeser, Yana Hart, John Morrison, Jesse Kodadek, Larry Golston, and

Sean Petterson (“Proposed Leadership Team”), are best suited to maximize

efficiency. We propose a leadership structure that focuses on specific litigation tasks,

rather than the inherent duplication that comes from a rigid hub-and-spoke structure.

For example, one lawyer can be primarily responsible for serving requests for

production and interrogatories and negotiating the scope of document productions

with each defendant—instead of six lawyers being responsible for that task with six

different defendants. This is precisely how a law firm would staff such a matter.

      Unlike a traditional, sprawling hub-and-spoke case that might be found in an

antitrust conspiracy, this data breach litigation will focus on a discrete set of facts—

Defendants’ failure to take reasonable security measures to prevent the exfiltration

of millions of Americans’ personal data. While this case is large, it does not require


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a team larger than ten lawyers, supported by leading Plaintiffs’ firms, to efficiently

and effectively protect the Class. In a case like this, a compact leadership team will

minimize the risk of diluting the ultimate putative payouts to class members and

avoid counsel seeking unnecessarily extensive and inflated fees. A structure that is

too large and unwieldy often leads to inefficiencies, poor litigation, and negatively

influences how the case is resolved by often prioritizing fees at the expense of the

class recovery. Moreover, our leadership team will be personally involved in this

case, as long as it takes, as our team is not tied up in dozens, if not hundreds, of other

data breach cases.

           In addition to our personal commitment to be the ones litigating this action,

our defendant-agnostic structure allows for the dynamic use of the team of lawyers

to meet the needs of the case at any given point in the litigation. This is precisely

how law firms manage their lawyers assigned to a large case. A description of

responsibilities for each is provided in the draft order attached as Exhibit 1.

           Pursuant to the factors to be considered under Federal Rule of Civil Procedure

23(g) and the Manual for Complex Litigation, the attorneys proposed in this

structure are diverse, collaborative, and are all well-qualified, and well-resourced to

effectively and efficiently litigate this action. We respectfully request that the Court

grant our application.




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II.        BACKGROUND

           Plaintiffs’ claims arise out of a breach that exposed consumers’ private and

sensitive information to criminal actors. Defendants, five of the world’s largest

corporations, entrusted customer data to Snowflake Inc.’s (“Snowflake”) cloud-

based data storage services. Snowflake promised to protect class members’ personal

information but did not. Class members’ data is now ripe for the taking on the dark

web. A number of plaintiffs filed suit against Snowflake, and a variety of Snowflake

customer entities including, AT&T, Inc., Ticketmaster, LLC, Advance Auto Parts,

Inc., Neiman Marcus Group, LLC, and LendingTree, LLC (together with Snowflake,

“Defendants”). Mandiant, a leading cybersecurity firm that investigated the breach,

has already notified “approximately 165 potentially exposed organizations” making

it likely that the number of Defendants may grow as the full scope of the breach is

revealed.

           On October 4, 2024, the Judicial Panel on Multidistrict Litigation transferred

the Snowflake-related cases to the District of Montana. MDL No. 3126, ECF No.

215 (J.P.M.L.). On October 21, 2024, this Court requested applications for

leadership. Dkt. No. 79.

III.       THE LEGAL STANDARD

           Appointing a carefully chosen leadership structure in complex litigation

serves the best interests of the parties, the proposed Class, and the Court. See Fed.

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R. Civ. P. 23(g) and Committee Notes; Manual for Complex Litigation Fourth

(2004), § 10.22. In appointing a leadership structure, the Court must consider: (1)

what is the appropriate structure to most efficiently and effectively litigate this

action; and (2) who should be included in that leadership structure.

           The overarching goal of the Court in making its appointment is to make

litigation more efficient. The Court “must balance desire to create a ‘dream team’

with several co-lead firms against the competing considerations of efficiency and

economy.” See In re Data Sec. Cases v. Nelnet Servicing, LLC, 2023 U.S. Dist.

LEXIS 15332, at *27 (D. Neb. Jan. 30, 2023) (appointing leadership group that was

more likely to prevent duplication) (citation omitted); see also Manual for Complex

Lit. § 10.221. As a result, independent examination by the Court into appropriate

leadership is critical. Manual for Complex Lit. § 10.224.

IV.        ARGUMENT

           A. A lean, Defendant-agnostic structure will prevent the duplication of

              work that is inevitable in “hub and spoke” cases.

           Ten lawyers is the ideal number to manage the “hub and spoke” structure of

Defendants. This is so because our structure enables a focused team of dedicated and

experienced class action lawyers to efficiently collaborate and divide work,

minimizing duplication when handling overlapping arguments in motions to dismiss

and overlapping discovery.

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           Plaintiffs propose that leadership be organized so that Lead Counsel organizes

and directs litigation, strategy and tasks, which are then assigned to the PSC. Rather

than focusing on a single Defendant, we propose that PSC members focus on specific

litigation tasks—that is to say, certain PSC members will focus on law and briefing,

offensive and third-party discovery, defensive discovery, experts, and settlement.

There are numerous efficiencies to be gained from not divvying up similar litigation

tasks across Defendants. A few lawyers dedicated to law and briefing is leagues

more practical than six defendant-specific sub-committees requiring coordination.

           Moreover, the critical issues that typically require resolution early in the

litigation, such as Article III standing and the scope of the duty owed to Class

Members, are unlikely to be defendant specific. These defendant-agnostic legal

issues should be briefed by a few attorneys with strong legal writing chops, not six

lawyers on six spokes. Likewise, Plaintiffs’ experts are unlikely to be specific to

Defendants; rather, damages and liability experts will focus on the same harms to

Class Members and the same security failures within Snowflake and the same

failures of the spoke-defendants’ oversight of Snowflake. Moreover, Plaintiffs’

discovery requests will largely look the same for all Defendants. We will seek

evidence regarding Defendants’ privacy policies, internal discussions about multi-

factor authentication, policies regarding data breaches, confidentiality policies and

practices, conversations with Snowflake, and the like.

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           The “hub-and-spoke” structure requires six different teams to draft discovery

requests; Plaintiffs’ proposal provides for specific individuals primarily responsible

for this task. In turn, because our proposal will consolidate any discovery disputes,

the parties can brief any motions to compel once, and Court will not be forced to

adjudicate the same issue for different Defendants ad nauseam. Finally, Defendants

will also likely serve similar, if not identical discovery requests on Plaintiffs. Our

proposal permits Defendants to negotiate with one point of contact instead of six.

           Further, our proposal ameliorates many of the problems created by the “hub-

and-spoke” model. In our decades of experience litigating similar cases, including

some of the cases referenced by other applicants, we have found that bigger is not

necessarily better: if everyone is running the case, no one is. The “hub-and-spoke”

structure creates work for many firms, but in no way guarantees that this work is

being done, let alone done well. In our experience, the “spokes” diminish

collaboration, because they silo information about workflow from the wider group

and can cause certain litigation tracks to fall behind or stop progressing altogether.

This issue is amplified where discovery reveals that certain claims or “spokes” are

worth more than others and attorney incentives shift. Our model ensures that our

team remains equally motivated to prosecute the case for the litigation’s duration.

           This structure is both appropriate for data breach cases, as our experience has

borne out, and complex class action writ large. Other courts have noted that a smaller

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team avoids inefficiencies and unnecessary costs. See Trinity Lutheran Church of

Columbia, Inc. v. Comer, 2018 U.S. Dist. LEXIS 190824, at *44 (W.D. Mo. Nov. 7,

2018) (noting the “disproportionate number of lawyers working on [a] relatively

straightforward case necessarily created inefficiencies[;] [h]ad a smaller team been

employed, there would have been fewer internal communications and less time spent

by various attorneys to familiarize themselves with the case”); In re Bystolic

Antitrust Litig., 2020 U.S. Dist. LEXIS 212738, at *8 (S.D.N.Y. Nov. 12, 2020)

(appointing a smaller structure “sufficient to address the various complexities that

may arise, while keeping unnecessary costs to a minimum.”).

           B. The specific roles in our structure are best suited for this data breach
              case.

           As detailed in Exhibit 1, our proposed structure will effectively and

efficiently manage the case. Lead Counsel will be responsible for directing and

managing all pretrial briefing and discovery and assigning work related to these

tasks, coordinating expert retention and development, settlement discussions,

managing the litigation fund and overall coordination, and preparing for trial. The

Plaintiffs’ Steering Committee, chaired by Lead Counsel, will coordinate efforts to

share information, and develop and conduct discovery and other tasks to effectively

litigate the case. Liaison Counsel, who are all Montana attorneys, will act as point

people to the Court, assist in the prosecution of the litigation, assist with trial



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preparation, and ensure that all discovery, filings, and notices are appropriately

served and received.

           This team and structure is particularly well suited to modern data breach

litigation. Key threshold issues such as establishing Article III standing and the

scope of Defendants’ duty are well-trod ground as data breach litigation has

increased in recent years. A Defendant-specific structure is unnecessary to address

these issues as litigation over threshold questions such as Article III standing have

largely settled key issues that vexed early efforts to seek redress on behalf of

consumers and employees whose data was negligently maintained and, as a result,

exfiltrated by criminals. Moreover, the passage of recent laws, such as the California

Consumer Privacy Act, have greatly simplified data breach cases. And insurance

coverage for data breaches has also become widely available, with most defendants

having insurance for breaches.

           Against this backdrop, many data breach cases have become commoditized.

See Duane Morris Class Action Review (2024), at 11-12 (available at

https://online.flippingbook.com/view/954167557/20/). A large number of firms file

and quickly settle dozens of data breach cases a year. While those cases take little

effort, this case requires more given the number of defendants, classes, and states

involved. The proposed leadership team is not part of the network of firms that file

dozens of data breach cases a year, allowing them to focus on this case. Our structure

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has made the commitment and capacity to fully litigate this action as long as

necessary to obtain meaningful relief for the classes. This will ensure that the Court

does not have concerns that any resolution here inures to the benefit of the attorneys

with little substantive relief for the classes of victims.

           C. Counsel’s work to date supports appointment.

           Lastly, federal courts routinely give deference to counsel in the first-filed

case(s) when they are qualified to handle the action. Here, that would be counsel on

this proposed slate, who first filed both Ticketmaster and Snowflake cases. See, e.g.,

Easton v. Bailey, 2013 WL 12323847, at *11 (C.D. Cal. Jan. 4, 2013) (appointing as

lead counsel the firms that were first to file, among consideration of other factors);

Ekin v. Amazon Servs., LLC, 2014 WL 12028588, at *4 (W.D. Wash. May 28, 2014)

(considering who filed the first complaint, among other factors, when selecting

interim class counsel among competing applicants); Moradi v. Adelson, 2011 WL

5025155, at *3 (D. Nev. Oct. 20, 2011) (“[. . .] as the Moradi Plaintiffs where the

first to file suit it would be appropriate to assign [their counsel] as lead counsel.”)

(internal citations omitted). Additionally, Mr. Blood and Ms. Hart worked with other

plaintiffs’ counsel on the joint submissions to the Court.

V.         PROPOSED LEAD COUNSEL AND THE LEADERSHIP TEAM

           Our proposed Co-Leads are recognized leaders in the data privacy and class

action spaces, and, along with the PSC, have more than sufficient resources to timely

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advance this litigation. Proposed Liaison Counsel are Montana lawyers experienced

in coordinating complex litigation. We know what works for MDLs and this Court,

and we also know that sprawling leadership models tend to bog litigation down.

Quality, not quantity, is the key consideration here.

           A.    Co-Lead Counsel

           Amy Keller, DiCello Levitt LLP

           As Managing Partner of DiCello Levitt LLP’s Chicago office, where she also

chairs the firm’s Privacy, Cybersecurity, and Technology litigation practice,

Ms. Keller primarily focuses her practice on data privacy litigation and consumer

protection. Since founding DiCello Levitt’s technology practice group, she has been

appointed to lead eight, separate data privacy class actions, including one of the

largest data breach settlements ever achieved in the United States, and another data

breach that has now been twice-certified to proceed as a class action. In re Equifax

Inc. Customer Data Sec. Breach Litig., 999 F.3d 1247 (11th Cir. 2021); In re

Marriott Int’l, Inc., Customer Data Sec. Breach Litig., 341 F.R.D. 128, 139 (D. Md.

2022), vacated and remanded sub nom. In re Marriott Int’l, Inc., 78 F.4th 677 (4th

Cir. 2023), reinstated In re Marriott Int’l Customer Data Sec. Breach Litig., 345

F.R.D. 137 (D. Md. 2023).

           Individually, Ms. Keller is recognized as one of the top privacy lawyers in the

country. In 2022, Ms. Keller was named one of Crain’s “40 Under 40” for her work

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promoting and advancing diversity in the practice of law.1 Chambers and Partners

ranks the leading lawyers and law firms across the world. In 2024, for the third year

in a row, Chambers and Partners ranked Ms. Keller as one of only twenty-six

attorneys (and one of only three plaintiff’s attorneys) in the country in “Privacy and

Data Security: Litigation.” As a result of her and her team’s hard work, Ms. Keller’s

firm’s technology practice group was recognized as Practice Group of the Year by

Law360 an unprecedented three years in a row (2020 through 2022), the National

Law Journal in 2020 and 2022. Individually, Ms. Keller has been highlighted by

Lawdragon in 2023 as one of its “500 Leading Plaintiff Consumer Lawyers” and as

a 2023 “Litigation Star” in the Plaintiff Class Action section by Benchmark

Litigation. Ms. Keller was elected to the American Law Institute in 2020, the leading

independent organization in the United States producing scholarly work to clarify,

modernize, and otherwise improve the law, and also serves on the Advisory

Committee of the Sedona Conference’s Working Group 11, focusing on issues of

cybersecurity and privacy. In 2022, at age 39, Ms. Keller was invited by the Federal

Judicial Center as one of only three plaintiffs’ lawyers to speak with judges,

professors, and defense counsel concerning necessary updates to The Manual for

Complex Litigation (Fourth), where she discussed her experience litigating MDL



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       Amy    Keller,   Crain’s 40     Under Forty,      Class of               2002,
https://www.chicagobusiness.com/40-under-40/40-under-40-amy-keller.
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cases and proposed changes to the Manual.

           Ms. Keller will also have assistance from the significant resources of her firm,

which has offices across the county in six different cities, plus a dedicated in-house

focus group and mock jury practice, which was employed by her firm prior to

winning an historic $102.6 million verdict in a class action trial in 2022 (together

with Mr. Golston’s firm). Siqueiros, et al. v. General Motors LLC, No. 3:16-cv-

07244, ECF No. 566 (N.D. Cal.). Without the need to hire outside jury consultants,

Ms. Keller’s firm can save the class significant resources in any recovery. Finally,

with a dedicated Privacy, Technology, and Cybersecurity practice group, the

Proposed Team can draw on the resources of Ms. Keller’s firm, which created the

precedent on the valuation of consumer data in privacy litigation. In re Facebook,

Inc. Internet Tracking Litig., 956 F.3d 589 (9th Cir. 2020).

           The Court may contact the following individuals to speak about Ms. Keller’s

ability to serve as Co-Lead: Judge J. Michelle Childs of the Court of Appeals for the

District of Columbia; Chief Judge Thomas Thrash of the District Court for the

Northern District of Georgia; Judge Robert Michael Dow, Jr. of the District Court

for the Northern District of Illinois; and Judge Wayne R. Anderson, current JAMS

mediator and formerly of the District Court for the Northern District of Illinois and

the Circuit court of Cook County, Illinois.




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           Timothy Blood, Blood Hurst & O’Reardon, LLP

           Timothy Blood is the managing partner of Blood Hurst & O’Reardon, LLP

(“BHO”), a firm that specializes in the prosecution of a wide variety of class actions

throughout the country, including skillfully litigating complex class actions to

verdict. Last year, he successfully tried a rare civil RICO class action, one of only a

handful ever tried. He has achieved record-setting recoveries across a diverse range

of fields, demonstrating expertise and unparalleled dedication. He has tried over half

a dozen class actions, a feat few can claim. He has litigated data breach class actions

for more than a decade, helped develop the early law for data breach class actions,

secured many appellate victories in areas of consumer protection law relevant to data

breach class actions and was instrumental in drafting and securing passage of the

landmark California Consumer Privacy Act of 2018 (“CCPA”) and the related

California Privacy Rights Act of 2020 (“CPRA”) – key claims which will be litigated

in this proceeding. These statutes are critical in data breach actions because they

create a private right of action for data breach victims, eliminate the difficulties

associated with proving certain damages, and allow consumers whose data has been

breached to recover statutory damages ranging from $100 to $750 per victim for

each violation.

           Mr. Blood has a passion for improving data protection and digital privacy. He

is regularly invited to speak at leading cybersecurity industry conferences, where he

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shares his deep expertise and insights with audiences of other thought leaders,

lawmakers, businesses, and colleagues on both sides of the isle about cybersecurity

laws, regulations, and emerging issues. Mr. Blood also currently serves on the San

Diego Privacy Advisory Board, which reviews the vast array of technology used by

the City of San Diego and makes recommendations to protect data and privacy.

           Mr. Blood and his firm have been highly selective as to which cases to file,

choosing to focus their practice on substantive litigation of class actions, avoiding a

“sue and settle” model common with many data breach class actions. His goal is to

obtain meaningful relief for consumers in class actions. This approach also allows

Mr. Blood to commit his time and his firm’s resources to litigating these MDL

actions.

           Some of the high-profile data breach class actions Mr. Blood has helped

prosecute include appointment as Co-Liaison Counsel and member of the Plaintiffs’

Steering Committee (effectively lead counsel) in In re Sony Gaming Networks and

Customer Data Security Breach Litigation, MDL 2258 (S.D. Cal.), one of the largest

data breach cases at the time. Mr. Blood is currently co-counsel with the San Diego

City Attorney’s Office in People for Experian Data Corp., No. 37-2019-01047183

(Cal. Super. Ct., Orange Cnty.), which is a data breach notification action on behalf

of the People of the State of California against a leading consumer credit reporting

and data aggregation company. Mr. Blood also was appointed to the Plaintiffs’

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Executive Committee in Snyder v. the Regents of the University of California, JCCP

No. 589243 (Cal. Super. Ct., Los Angeles Cnty.), among others.

           Mr. Blood has been appointed class counsel in dozens of cases, including to

leadership roles in high-profile complex cases such as a member of the Plaintiffs’

Steering Committee in In re Johnson & Johnson Talcum Powder Products

Marketing, Sales Practices, and Prods. Liab. Litig., MDL No. 2738 (D.N.J.), as class

counsel in In re Skechers Toning Shoes Prods. Liab. Litig., MDL No. 2308 (W.D.

Ky., Hon. Thomas B. Russell) and as co-lead counsel in the California statewide

coordinated action involving Toyota vehicles prone to sudden unintended

acceleration, In re Toyota Motor Cases, JCCP No. 4621 (Cal. Super. Ct., Los

Angeles Cnty.), and class counsel in Warner v. Toyota Motor Sales, Case No. 2:15-

cv-02171-FMO-(FFMx) (C.D. Cal), which resulted in a $3.4 billion class recovery.

           The variety and scope of consumer protection cases Mr. Blood has litigated is

expansive. He curriculum vitae details the various types of class actions he has

handled, some of his court-appointed leadership positions, the record-setting

recoveries, the many appellate decisions in the area he has obtained, the

groundbreaking work achieved through litigation with agencies such as the Federal

Trade Commission in a public-private partnership rarely duplicated, and the many

forums in which he has fought for consumer rights, including data and privacy rights.

           Mr. Blood enjoys a reputation for integrity, civility, and an ability to bring

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people together. In fact, the day after the hearing on leadership in this case Mr. Blood

is an invited speaker at the annual convention of California’s preeminent plaintiffs’

organization, Consumer Attorneys of California; he will speak on how to practice

law with civility. Mr. Blood is the founding member of the San Diego ESI Discovery

Forum, consisting of judges and practitioners, past president of the Consumer

Attorneys of San Diego, past executive board member of Consumer Attorneys of

California, a member of the Federal Bar Association, and a member and team leader

of the Welsh Inn of the American Inns of Court.

           For references, Mr. Blood invites the Court to contact Chief Judge Dana

Sabraw (S.D. Cal), Chief Judge Richard Seeborg (N.D. Cal.), Judge Vince Chhabria

(N.D. Cal.), Judge Anthony Battaglia (S.D. Cal.), Judge Fernando Olguin (C.D.

Cal.), Chief Judge Benjamin P. Hursh (Bankruptcy Court, D. Mont.), and Magistrate

Judge Allison Goddard (S.D. Cal.).

           B.   Liaison Counsel

           Mr. Aarab and Mr. Rossbach are leading Montana litigators who can aptly

handle Liaison Counsel’s role of effectively communicating the Court’s directives,

minimizing the need for Court intervention, and managing the cohesion among the

group and opposing counsel. By virtue of being Montana-based attorneys, they will

be able to maximize alignment between the Court and parties and have the time,

attention, and ability to handle this responsibility. Mr. Aarab’s experience in

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representing the interests of his local peers in the Montana State Bar, and

Mr. Rossbach’s long leadership in the Montana Trial Lawyers and as Montana

Governor on the Board of the American Association for Justice, combined with their

extensive litigation and courtroom practice makes them ideal candidates for this

position.

           Mr. Aarab and Mr. Rossbach have a history of collaboration together in

complex civil litigation, including toxic tort cases. Their complementary skills create

a cohesive approach to managing intricate legal matters, balancing Mr. Rossbach’s

class action background and his 20 years as Liaison Counsel for Montana Attorney

Generals with Mr. Aarab’s trial expertise and local knowledge. Together, they will

emphasize clear communication and effective coordination. Both attorneys bring

experience in complex litigation that requires commitment and sustained effort.

           Bill Rossbach, Rossbach Law, P.C.

           As highlighted by his extensive career focused on science and engineering-

based litigation, spanning over three decades, and service as Liaison Counsel for

four different Montana Attorney Generals 2 in Unfair Trade Practice/Consumer

Protection and Public Nuisance litigation, uniquely positions him for the role of Co-

Liaison Counsel. Mr. Rossbach’s involvement in class actions, requiring multi-year

coordination and rigorous case management, demonstrates his capacity for meeting

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           General McGrath, General Bullock, General Fox and General Knudsen.
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the demands of this MDL.

           Mr. Rossbach has worked on numerous large highly complex state and

nationwide class actions, including a number of cases tried to verdict, which

demonstrates Mr. Rossbach’s ability to litigate highly complex actions through trial.

Mr. Rossbach was the head of the science team in Exxon Valdez Oil Spill litigation,

where he coordinated, organized, and prepared experts to prove injuries for more

than 23,000 class members and individual as where he was also responsible for

coordinating among 45 experts across different specialties and fields.

           While working with the Attorney General and national counsel as discussed

above, Mr. Rossbach filed suit against Merck, Eli Lilly, Astra Zeneca, Janssen, and

Purdue; and other primary distributors involved in the Opioid supply chain including

McKesson, Cardinal, and Amerisource. Before filing the suit there were no offers in

any case that exceeded one million dollars. After filing suit and litigating these

claims the cases settled in mediation or on the eve of trial for more than 80 million

dollars. As the opioid litigation matured and cases were settled without litigation,

Mr. Rosbach was appointed Special Assistant Attorney General to assist staff in the

complex requirements of the national opioid settlements that now include the major

national pharmacies, other opioid manufacturers, and marketing companies. These

opioid settlements now amount to over 120 million dollars and require collaboration

and approval of all fifty-six counties and the six largest cities. For the last two plus

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years Mr. Rossbach’s role with General Knudsen has included negotiating a

Memorandum of Understanding with all local governments and their local and

national counsel, interpretation of several thousand pages of settlement documents,

assisting the Attorney General’s staff in the development of infrastructure and

methods for the administration and distribution of the settlement funds, and being

liaison as needed with defense counsel, local governments, and the National

Settlement Administration that distributes the settlement funds to State and local

governments.

           Mr. Rossbach has worked with hundreds of the best plaintiff and defense

lawyers in Montana, and in the country, with the reputation of carrying civility and

collaboration into all facets of his work. While his priority has always been to

advocate for his clients, Mr. Rossbach has a deep understanding that successful

advocacy rests on the fundamental principle of following the Golden Rule in all

interactions with co-counsel, defense counsel, the Court and its staff. Mr. Rossbach

is a member of the American Board of Trial Advocates and the Montana trial bar,

who for many years has been designated with the Martindale “Preeminent” rating.

           Mr. Rossbach is extremely selective in the cases he litigates. After becoming

associated as counsel to file the first, third and fourth Snowflake cases in this Court,

in anticipation of the possibility of becoming fully engaged in these cases Mr.

Rossbach has taken no new cases, thus he is willing and has the ability to commit to

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a lengthy and time-consuming process.

           Mr. Rossbach has significant leadership experience is his class action work

and as Attorney General Liaison. Honorable Donald W. Molloy, the Honorable Dana

Christensen, and Honorable Russell Holland can attest to Mr. Rossbach’s ability to

cooperatively, ethically, and zealously litigate a complex case.

           Sam Aarab, Boland Aarab PLLP

           As a litigator, Mr. Aarab has demonstrated repeatedly that he is committed to

favorable case resolution, even if the process takes years to complete. Mr. Aarab’s

particular leadership experience in managing larger groups of attorneys is evident in

both his litigation practice and in his service to the State Bar. Mr. Aarab was elected

twice to represent a large and diverse group of attorneys and in this role he was

recognized for his service to the bar. In short, Mr. Aarab has demonstrated the ability

to lead by consensus both in and outside the courtroom. Mr. Aarab’s career has

included cases such as Konesky v. Keller, which spanned years of strategic

preparation and courtroom work. He has also handled cases from complaint through

appeals, with courtroom experience covering thousands of hours in both federal and

state courts across Montana. Mr. Aarab’s practice includes significant Montana-

based civil cases, such as Gallagher v. Cascade County, and high-stakes trial work,

including State v. Parker. Mr. Aarab’s focus on consumer protection cases such as

Stevenson v. Ally Financial aligns with the MDL’s objectives, complementing Mr.

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Rossbach’s national-level experience discussed below.

           Mr. Aarab brings a depth of experience and knowledge to the MDL from his

background in Montana courts, along with a demonstrated ability to lead in complex

litigation settings. He offers a strong understanding of Montana’s legal landscape,

honed litigation skills, and the capacity to manage large groups in multifaceted legal

proceedings to which Judge Elizabeth Best of the Eighth Judicial District of Montana

can attest.

           C.    Plaintiffs’ Steering Committee

           Thomas E. Loeser, Cotchett, Pitre & McCarthy, LLP

           Tom Loeser is the Co-Managing Partner of the Seattle office of Cotchett, Pitre

& McCarthy, LLP, one of the nation’s leading class action and plaintiff’s trial firms. 3

His particular expertise in technology, including writing code, as well as product and

legal work in Silicon Valley, and his nearly five-years as an Assistant United States

Attorney in Los Angeles including in the Cyber and Intellectual Property Crimes

Section, provides a unique skill set to benefit the class from day one through trial and

any appeals. Mr. Loeser has a long history and well-earned reputation of working

respectfully and free of divisiveness in the technology, privacy, data breach and

consumer protection bars, which will allow him to work cooperatively and efficiently

with the highly skilled and well-qualified attorneys the Court may appoint here.

3
           See Mr. Loeser’s resume is attached as Exhibit 9.
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           Mr. Loeser prosecutes data/privacy cases that involve particularly sensitive

information, egregious corporate malfeasance, or massive data sets exposing the

information of tens of millions of consumers. For these reasons, he is presently serving

on the steering committee of two nationwide MDL data breach cases, In re T-Mobile

2022 Consumer Data Sec. Breach Litig. (“T-Mobile II”) and In re AT&T, Inc.

Customer Data Sec. Breach Litig. (“AT&T”) and is co-lead in four other non-mdl data

breach cases. He is, therefore, willing and able to commit his personal time to a

lengthy and time-consuming process in service of the putative class.

           Tom Loeser is an AV Preeminant rated SuperLawyer and member of

Lawdragon’s 500 Leading Lawyers in America and the National Trial Lawyers Top

100 Trial Lawyers. He is a 25-year technology trial lawyer with 18 years of privacy

and data class action experience and hard-science and high-technology bona fides. His

technology career includes the authorship of code for the Treasury at Microsoft and

product analysis at the Hewlett-Packard Company. His legal career began in Silicon

Valley.

           In 2002, Mr. Loeser became an AUSA in Los Angeles and then a member of

the Cyber and Intellectual Property Crimes Section. This entailed months of training

in the investigation and prosecution of hacking, computer intrusion, malware, and data

breach cases, including detecting and investigating hacking by state-sponsored and

foreign black-hat operators. It also included specialized training in investigation of the

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“dark web,” where PII from this breach was discovered. He has a deep understanding

of the technological parameters of a data breach. And his unique experience working

within government agencies at the forefront of the cyber-war gives perspective and

insight that will benefit the class. Many of his cyber-prosecutor colleagues work at

firms that are retained by corporations like Defendants here. It is fitting that the class

should have the same level of critical expertise in the prosecution of this case that

Defendants will have in their defense.

           Mr. Loeser has succeeded in highly technical class cases, including In re

Carrier IQ, Inc., Consumer Privacy Litig., In re: T-Mobile I and II and Sheikh v. Tesla,

where he was appointed class counsel. At final approval of a complex settlement,

Judge Beth Labson Freeman remarked on the record:

           I will reiterate that Class Counsel has demonstrated over many years,
           superior experience and capability in handling class actions of this sort.
           It’s not simple, you make it look easy, and that is the art of what you
           do, Mr. Loeser, and the Court certainly appreciates the good work in
           this case, and in recognition of the many cases that your firm has
           handled over the years. 4

           Pertinent here, in Carrier IQ plaintiffs overcame motions to compel arbitration

of cellular providers, including AT&T and Sprint (now part of AT&T). In

Rajagopalan v. Noteworld, 718 F.3d 844 (9th Cir. 2013), Mr. Loeser established 9th

Circuit law limiting companies’ ability to use one-sided adhesion contracts for


4
       Sheikh v. Tesla, Inc., No. 5:17-cv-02193-BLF (N.D. Cal.) (Oct. 17, 2018 Hr’g
Tr. at 12).
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arbitration in a consumer context. The 2022 T-Mobile case, where Mr. Loeser was

appointed to the PSC, and the AT&T Data Breach Litigation where he also has a

leadership position are now litigating whether the arbitration clauses are enforceable.

           The Court may contact Judge Wimes, in the Western District of Missouri. (816-

512-5390). Judge Wimes interviewed Mr. Loeser for T-Mobile II and granted his

leadership application. Hon. Wayne Anderson (Ret.) of JAMS, a nationally

recognized data breach mediator, can speak to Mr. Loeser’s collegiality, effectiveness

and abilities. (Tel: 847-650-6844; E-mail: wa@adrwa.com).

           Yana Hart, Clarkson Law Firm, P.C.

           Yana Hart immigrated from Kazakhstan and Russia as a teenager who could

not speak English. With little money or family support, she prioritized her education

and worked odd jobs to pay for college tuition and room and board. The embodiment

of hustle and perseverance, Yana graduated at the top of her undergraduate class and

decided to go to law school. Near the end of her 3L year, the law school dean called

Yana to notify her of an honor she had earned, but Yana had to consult a dictionary

to learn the meaning of the word: “Valedictorian.” In the span of a decade, Yana

earned top educational honors, mastered the English language, became a proud U.S.




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citizen, and began her successful career as a public interest lawyer, fighting for the

underdogs of the world.

           Ms. Hart is now a partner at Clarkson Law Firm, P.C., a national public

interest law firm of 32 lawyers, where she oversees the Data Privacy Litigation

Department. Ms. Hart’s deep expertise in data breach class actions is complemented

by her collaborative style, unique background, and critically diverse perspectives.

While Ms. Hart’s data breach expertise and leadership in this and other matters alone

qualifies her for this appointment, her remarkable lived experience will also bring to

leadership a unique perspective rarely represented.

           For over a decade, Ms. Hart has represented plaintiffs in hundreds of cases,

mostly in federal courts throughout the nation, and she has overseen many complex

privacy and data breach class actions. Most recently, the Honorable Jeffrey S. White

appointed Ms. Hart Interim Co-Lead of In re Dropbox Sign Data Breach Litigation,

No. 4:24-cv-02637-JSW, Dkt. 41 (N.D. Cal. Oct. 9, 2024).5

           Ms. Hart’s Data Privacy Department is dedicated to handling complex cases.

The Department deliberately maintains a limited number of cases to ensure Ms. Hart


5
       Other recent examples of Ms. Hart’s privacy and data breach work include
B.K. et al. v. Desert Care et al., No. 2:23-cv-05021-SPG-PD (C.D. Cal., Feb. 1,
2024) (defeating pleading challenges for critical claims involving medical disclosure
of patient information); M.M., et al. v. Los Angeles Unified School District, No.
22STCV37822 (Super. Ct. L.A. County, July 2, 2024) (Ms. Hart obtaining
successful order overruling the demurrer against a third-party data vendor

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can commit the necessary time and resources to handle matters through trial and

appeal, as required, and otherwise fully litigate important matters like this one. Ms.

Hart’s commitment has been on display in this matter from the very start, as her team

has been at the center of critical work seeking to hold Ticketmaster, Snowflake, and

others accountable for the harm to hundreds of thousands of consumers. Ms. Hart

filed the first class action in the nation against Ticketmaster—the largest “spoke”—

in the Central District of California. Then, as a result of her detailed and ongoing

investigation into the facts and claims at issue, Ms. Hart’s team uncovered the full

extent of Snowflake’s involvement in the Ticketmaster and other breaches, resulting

in Ms. Hart to again be the first lawyer in the nation to pursue relief for aggrieved

consumers, filing the first action against Snowflake—the “hub”—in this Court.

           Since filing these initial actions, Ms. Hart and her team have heard from and

interviewed dozens of victims of the data breach regarding their experience and

damages, many of whom are ready to join this action as plaintiffs if necessary. With

her characteristic collaborative style, Ms. Hart also began immediately convening

and leading a large group of plaintiffs across separate, later-filed actions to organize

and efficiently advance the Ticketmaster actions in the Central District of California,



responsible for data breach disclosing highly sensitive personal and medical
information); C.M., et al. v. MarinHealth Medical Group, Inc., No 3:23-cv-04179-
WHO (N.D. Cal., Jan. 19, 2024) (defeating motion to dismiss on all but one count
in a class action involving disclosure of medical information).
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while also agreeing to serve as local counsel in many of them. She led briefing efforts

in the process of consolidation and leadership applications, following her extensive

private ordering efforts through which she earned the respect and support of several

firms across other related actions.

           Ms. Hart’s data breach experience is also complemented by deep experience

at every functional stage of the litigation process. She has litigated many complex

consumer class actions nearly through trial, and also had successfully briefed appeals

in both federal and state courts. 6 A recent example of Ms. Hart’s ability to litigate

complex matters successfully is Gunaratna, et al., v. Dr. Dennis Gross Skincare,

LLC (C.D. Cal. No. 2:20-cv-02311-MWF-GJS), a certified false advertising class

action led by Ms. Hart. Last month, after years of arduous litigation, she gained final

approval for a settlement that awarded nearly full restitution (73%) to participating

class members, resulting in a claims rate that, at 23.8%, was more than 5 times what

is typically seen in similar matters. 7 The Honorable Michael Fitzgerald of the Central



6
       Recent examples include Prescod v. Celsius Holdings, Inc., No.
19STCV09321 2021 WL 5234499, at *27 (Aug. 2, 2021) (successfully opposing
two appellate writs in favor of consumers resulting in a nationwide settlement before
Hon. Kenneth Freeman); Salazar v. Target Corporation, 83 Cal.App.5th 571 (2022)
(obtaining a reversal on appeal of an order sustaining a demurrer); Baton et al. v.
Ledger SAS et al., 2022 WL 17352192 (9th Cir. 2022) (obtaining a reversal of a
district court’s dismissal of data breach action on jurisdictional grounds, and
subsequently obtaining a denial of a motion to dismiss on the merits)
7
       Kandel et al. v. Dr. Dennis Gross Skincare, LLC, No. 1:23-cv-01967-ER
(final approval by Judge Ramos where the nationwide class action was filed).
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District of California presided over the matter and can attest to the quality of

Ms. Hart’s work, diligence, and professionalism through the years of litigation.

Gunaratna, 2023 U.S. Dist. LEXIS 60796, at *74 (C.D. Cal. Apr. 4, 2023)

(observing the team led by Ms. Hart is “experienced, knowledgeable, and competent;

that they will zealously advocate on behalf of the class; and that they will dedicate

substantial time and resources litigating this action.”)

           In addition to securing excellent results for consumers in privacy and other

class actions, Ms. Hart also has functional trial experience. In a civil rights matter

before Judge Battaglia in the Southern District of California, which Ms. Hart took

on a pro bono basis, she served as second chair of the full jury trial, handling almost

all the substantive trial preparation, motions in limine, as well as the cross

examination of several witnesses. James v. Agnew et. al., No. 3:15-cv-409 (S.D. Cal.

2018). Like Judge Fitzgerald, Judge Battaglia can also attest to the quality of

Ms. Hart’s work and her dedication and diligence overall.

           The respect Ms. Hart has earned from her colleagues in this matter, across the

privacy bar, and members of the federal judiciary before whom she has meaningfully

litigated is also evident in her recent appointment as the Lawyer Representative for

the Southern District of California. Chief Judge Dana M. Sabraw noted: “Although




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there were many highly qualified attorneys applying for the position, the judges were

particularly impressed by [Ms. Hart].”

           Larry Golston, Beasley Allen

           Larry Golston is a Principal in the Consumer Fraud Section of Beasley, Allen,

Crow, Methvin, Portis, & Miles, P.C. (“Beasley Allen”), a national law firm

headquartered in Montgomery, Alabama, with additional offices in Mobile,

Alabama and Atlanta, Georgia. Mr. Golston was a part of the legal team that obtained

a $700 million settlement for thousands of Alabama PCB contamination victims; a

case involving the largest environmental tort settlement in the country at the time.

Mr. Golston served as lead counsel on behalf of the United States and qui tam

relators in False Claims Act litigation with results to-date of settlements and verdicts

exceeding $50 million. Additionally, Mr. Golston has served as lead counsel in

collective action class litigation arising under the Fair Labor Standards Act. Beasley

Allen has obtained verdicts and settlements amounting to nearly $30 billion,

representing plaintiffs in personal injury, products liability, consumer fraud, class

actions, business litigation, and mass tort litigation. 8 Attorneys from Beasley Allen

have been selected by federal courts as lead counsel or co-lead counsel in 17 MDLs

and have been appointed to the Plaintiffs’ Executive Committee and/or Steering




8
           List of Beasley Allen’s record verdicts and settlements available upon request.
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Committee in 42 additional complex MDLs.9

           Currently, Mr. Golston is serving on the Plaintiffs’ Steering Committee in the

AT&T Data Breach Litigation MDL No. 3:24-md-03114-E, Judge Ada Brown

presiding. Mr. Golston has worked as co-counsel directly with his law partner W.

“Dee” Miles, III who served on the Plaintiffs’ Steering Committee in the Home

Depot data breach class action and Target data breach litigation assisting in the

recovery of $39.4 million on behalf of banks and credit unions. In 2013, Mr. Golston

spoke on data breach litigation at the Harris-Martin Target Data Breach Litigation

seminar in San Diego, California about the issues involved in data security breaches.

           Mr. Golston is considered among the best Consumer Attorneys in the United

States having been named as Lawdragon 500 “Leading Consumer Lawyers in

America” in 2022, 2023 and 2024. Mr. Golston is “AV” rated by Martindale-

Hubbell and has been named a “Best Lawyer” by The Best Lawyers in America

magazine for 2022. Mr. Golston has also devoted significant time and resources to

leading and serving his colleagues in the legal profession. Mr. Golston served as the

president of the Alabama Lawyers Association, the oldest and largest association of

African American attorneys in the State of Alabama (an affiliate of the National Bar

Association). Mr. Golston is also the founder and first chairperson of the Adams-

Shores Minority Attorney Caucus of the Alabama Association of Justice (ALAAJ).

9
           List of Beasley Allen’s MDL appointments available upon request.
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Through various leadership roles, Mr. Golston has demonstrated an ability to work

cooperatively, provide valuable information, build consensus and lead lawyers in

numerous litigations, including data breach litigation.

           Mr. Golston and Beasley Allen have been involved in many multi-million

dollar and even billion-dollar complex litigation cases including MDL, mass tort,

and class action cases that required substantial financial resources in multi-million-

dollar commitments, attorney personnel and support staff. Mr. Golston is prepared

and committed to this action, and he is willing to commit the time, financial

resources and manpower to this litigation to the fullest extent. Mr. Golston has the

expertise and knowledge to successfully contribute to this action.

           Finally, if appointed, Mr. Golston would also provide a valuable and diverse

perspective regarding this litigation that would benefit all clients and the entire

leadership team.

           Sean Petterson, Lieff Cabraser Heimann & Bernstein LLP

           Mr. Petterson is a partner in Lieff Cabraser’s New York City office and a

member of the firm’s award-winning Cybersecurity & Privacy Group. A 2015

graduate of New York University School of Law, Mr. Petterson has served an

instrumental role on Lieff Cabraser’s work in the twice certified Marriott data breach

litigation. See In re Marriott Int’l, Inc., Customer Data Sec. Breach Litig., 341

F.R.D. 128, 139 (D. Md. 2022), vacated and remanded sub nom. In re Marriott Int’l,

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Inc., 78 F.4th 677 (4th Cir. 2023), reinstated In re Marriott Int’l Customer Data Sec.

Breach Litig., 345 F.R.D. 137 (D. Md. 2023). In particular, he worked closely with

Plaintiffs’ key liability and damages experts, helped draft critical briefs, and deposed

Marriott’s witnesses. Likewise, in In re American Medical Collection Agency, Inc.

Customer Data Sec. Breach Litig., MDL-2904, Mr. Petterson has served a key role

supporting his partner, Jason Lichtman, who is one of three co-leads in the “Quest”

track. Specifically, Mr. Petterson has worked closely with liability experts and as

such has a detailed technical knowledge of cybersecurity best practices.

           Mr. Petterson has also brought cases alleging violations of the Illinois

Biometric Information Privacy Act alleging that technology in commercial trucks

that captures drivers’ biometrics violates the law. He has again played a key role in

understanding the technology at issue and deposing key technical experts. In

addition to his work on privacy matters at Lieff Cabraser, Mr. Petterson was also on

the Lieff Cabraser team that reached two record-breaking shareholder derivative

settlements—In re The Boeing Co. Derivative Litig., Consol. C.A. No. 2019-0907-

MTZ (Del. Ch.) ($237.5 million settlement) and In re Wells Fargo & Co. Derivative

Litig., 16-cv-5541-JST (N.D. Cal.) ($240 million settlement). Mr. Petterson also

brings a breadth of experience as a former member of the defense bar as an associate

at Boies Schiller Flexner LLP.

           Mr. Petterson will be closely supported by Lieff Cabraser’s Cybersecurity &

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Privacy Group, including Mr. Lichtman in particular. Salt Lake City-based

Mr. Lichtman was appointed to the Plaintiffs’ Steering Committee in the Marriott

Data Breach action and is a Co-Lead of the Quest Track in the AMCA Data Breach

action. Mr. Lichtman has played a key role in briefing and working with damages

and liability experts in both cases, a role that he also played in two other large data

breaches—In re Anthem Data Breach Litig., No. 15-cv-2617 (MDL 2617) (N.D.

Cal.) ($115 million settlement) and In re Premera Blue Cross Customer Data Sec.

Breach Litig., No. 3:15-md-2633 (D. Or.) ($74 million settlement).

           The Court can contact Judge Sara Ellis of the Northern District of Illinois and

Judge James R. Epstein (ret.) of JAMS who can attest to Mr. Petterson’s

qualifications.

           John Morrison, Morrison Sherwood Wilson Deola P.LLP

           As a senior member of the Montana trial bar for nearly three decades, Mr.

Morrison brings extensive experience in complex litigation, including numerous

successful class actions as both lead and co-lead counsel. His career encompasses

trials and appeals in both state and federal courts, marked by strong collaborative

relationships with co-counsel and legal teams across diverse cases. Mr. Morrison has

extensive experience with complex and time-consuming cases; therefore, he

understands the magnitude of time and work necessary to dedicate to a case such as

this, and he is more than ready to dive in. Mr. Morrison has tried more than twenty

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cases to verdict or judgment and argued more than twenty appeals including many

cases of first impression. 10 Mr. Morrison won numerous landmark decisions in the

Montana Supreme Court, the United States Courts of Appeals, and has been a part

of several in the Supreme Court of the United States.

           Mr. Morrison’s ability to lead complex litigation and foster effective

collaboration is also evident through his extensive contribution to the legal field and

public service. This includes Mr. Morrison’s position as State Auditor of the

Insurance and Securities Commissioner of Montana, 2001 to 2008, a member of the

Montana Bar Association Ethics Committee since 1998, and a Certified Civil Trial

Advocate with the National Board of Trial Advocacy (NBTA) since 2000. He also

serves as an adjunct law professor at the University of Montana and is a member of



10
       Butler v. Central United Life Ins. (2017-2022) (nationwide class action
certified and litigated on the merits, involving handling of an appeal before the Ninth
Circuit); Depot v. “Caring for Montanans, Inc.” and HCSC (2016-2023) (Mont.
District Court, U.S. District Court, Montana Supreme Court, 9th Circuit, and the
Supreme Court of the United States) (Lead counsel on behalf of 3000 Montana small
businesses which resolved in class settlement); Turner v. Billings Clinic et al. (D.
Mont. 2017-2019) (successful multi-lateral settlement negotiation, approval and
distribution with independent fiduciary); Montana Health CO-OP v. United States
(2016-2024) (Court of Federal Claims; litigated up to settlement); Lamping et al v.
American Home Products (1999-2000) (D. Mont.) (Co-Lead counsel on behalf of
the first medical monitoring class in which he obtained successful certification,
settlement, approval, and distribution); State v. Piper Jaffrey and Tom O’Neil (2001-
2003) (represented the Securities Department as lead litigation counsel); State of
Montana v. Phillip Morris et al. (1996-1999) (Assembled and led team of six
Montana lawyers assisted by Montana Attorney General in a complex matter which
ultimately resolved on a global basis).
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the inaugural classes of Leadership Montana and Leadership Montana Indigenous

Immersion Initiative. Mr. Morrison’s diverse experience, combined with an

extensive track record in litigation, uniquely positions him for a pivotal role on the

Litigation Committee in this case.

           Jesse Kodadek, Parsons Behle & Latimer

           Missoula-based Mr. Kodadek of Parsons is a seasoned litigator well suited to

a leadership role in this case. Mr. Kodadek has extensive experience representing

plaintiffs in class actions and other high-value litigation in Montana state court and

the District of Montana, as well as at the Ninth Circuit. Of note, Mr. Kodadek served

as lead counsel in Kramer v. Fergus Farm Mutual Ins. Co., No. DA 19-0682

(Montana), wherein the court certified a statewide class that survived an appeal. He

is also lead counsel in LH Residential v. Allied Waste Services of N. Am., which was

also certified as a class action in the Fourth Judicial District Court in Missoula

County. He has also argued before the Ninth Circuit on multiple occasions. He is

currently lead counsel in Dow v. Safeco Ins. Co. of Am., No. 20-cv-31-BLG-SPW

(D. Mont.), where he recently argued a summary judgment and class certification

appeal before the Ninth Circuit., and he also represented LL Liquor in LL Liquor,

Inc. v. State of Montana, No. 15-cv-71-H-SEH (D. Mont.), a breach-of-contract case

where he argued three separate appeals and obtained a $5.7 million judgment.

           Parsons is the one of the largest Mountain West-based law firms with a

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significant Montana presence, with over 200 attorneys and 11 offices in Montana,

Utah, Nevada, Wyoming, and Idaho—including 15 attorneys in Montana. Parsons’

attorneys have successfully litigated in the class action and mass torts spaces, and

Parsons is capable of and willing to devote substantial resources to this case.

           The Court may contact Judge Dana Christensen of the District of Montana

and Judge Jason Marks of the Montana Fourth Judicial District Court, Missoula

County regarding Mr. Kodadek’s qualifications.

IV.        CONCLUSION

           Each of proposed Co-Leads, Liaison, and Plaintiffs’ Steering Committee

members will commit all necessary resources to represent Plaintiffs and the Classes

in this action, have the willingness and ability to ensure the effective progress of this

litigation, and have the experience and resources to handle any procedural scenario

presented in this case, through a jury trial and appeals. The proposed leadership

group also offers a diversity of experience, gender, racial, and ethnic identity, as well

as life experiences, will ensure efficiency, and will be in the best interests of the

putative Classes. We respectfully request the Court grant our application.

                                         Respectfully submitted,

 Dated: November 7, 2024                 BLOOD HURST & O’REARDON, LLP

                                         By:         s/ Timothy G. Blood
                                                   TIMOTHY G. BLOOD
                                         Timothy G. Blood (admitted pro hac vice)

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 Dated: November 7, 2024            DiCELLO LEVITT LLP

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